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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re                                                            Chapter 11

AMERIFIRST FINANCIAL, INC., et al.,1                             Case No. 23-11240 (TMH)

                          Debtors.                               (Jointly Administered)



         OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ DEPOSITION
        DESIGNATIONS IN SUPPORT OF HEARING ON THE STANDING MOTION

         The Official Committee of Unsecured Creditors of AmeriFirst Financial, Inc., et al. (the

“Committee”) and the debtors, and debtors-in-possession (collectively, the “Debtors”), in the

above-captioned Chapter 11 cases designate the portions of the deposition of Jeffrey Dane,

attached as Exhibit A2 and specified at Exhibit B hereto, which deposition was taken in

connection with the contested matter on the Motion of the Official Committee of Unsecured

Creditors of AmeriFirst Financial, Inc., et al. for an Order Granting (I) Leave, Standing, and

Authority to Commence and Prosecute Certain Claims on Behalf of the Debtors' Estates and (II)

Exclusive Settlement Authority in Respect of Such Claims (D.I. 470) (the “Standing Motion”).




1
    The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
    Phoenix 1040 LLC (2550); and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W.
    Chandler Boulevard, Suite 225, Unit 236, Chandler, AZ 85225.
2
    Exhibit A is highlighted to reflect both the Debtors’ and the Committee’s designations. The Committee’s
    designations are highlighted in yellow, while the Debtors’ designations are highlighted in blue. Green highlights
    are areas designated by both the Debtors and the Committee.
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Dated: January 8, 2024           MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                 UNSECURED CREDITORS

                                 - and -

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